II.    Without A Prima Facie Showing, Jurisdictional Discovery Is Warranted

         “[E]ven where [a] plaintiff has not made a prima facie showing of personal jurisdiction,”
it is “well settled under Second Circuit law that … a court may still order discovery, in its
discretion, when it concludes the plaintiff may be able to establish jurisdiction if given the
opportunity to develop a full factual record.” Davey v. PK Benelux B.V., 2021 WL 3501199, at
*1 (S.D.N.Y. Aug. 6, 2021). Such discovery is appropriate upon “a threshold showing that there
is some basis for the assertion of jurisdiction.” Blockchain Mining Supply & Servs. Ltd. v. Super
Crypto Mining, Inc., 2020 WL 7128968, at *1 (S.D.N.Y. Dec. 4, 2020). A plaintiff’s “sufficient
start” towards making this prima facie warrants jurisdictional discovery. City of Almaty v.
Ablyazov, 278 F. Supp. 3d 776, 809 (S.D.N.Y. 2017). In weighing whether to permit discovery,
a court “should take care to give the plaintiff ample opportunity to secure and present evidence
relevant to the existence of jurisdiction.” APWU v. Potter, 343 F.3d 619, 627 (2d Cir. 2003).

        At a minimum, Plaintiffs have made a sufficient start towards their prima facie
jurisdictional showing. Plaintiffs have demonstrated that their claims “arise from” Defendants’
New York activities because Defendants deliberately solicited and did business with “VIP”
“market-maker” customers located in New York in order to provide Binance with the
existentially-necessary liquidity required for it to function as a cryptocurrency platform. ¶¶11-13,
17, 68-69, 72, 158, 174-81. Likewise, Defendants deliberately hid their New York activities from
Binance’s regulators, allowing Binance to operate without the requisite government oversight,
thereby ensuring that Binance could function as a cryptocurrency platform uniquely tailored for
criminal and terrorist usage. ¶¶16, 68-69, 72, 180-231. Indeed, Defendant Zhao admitted that
Defendants were obligated to report their users’ data in accordance with anti-terrorism laws, such
that a terrorist attack was the foreseeable consequence of Defendants’ failing to provide that
information. ¶221. These “specific, non-conclusory facts … if further developed, could
demonstrate substantial [New York] contacts,” warranting jurisdictional discovery. Henkin v.
Charity, 2023 WL 2734788, at *11 (E.D.N.Y. Mar. 31, 2023) (ordering jurisdictional discovery
because plaintiffs “pleaded facts which could support a colorable claim of jurisdiction”; such
discovery would “enable the plaintiffs to determine whether there are additional facts that would
permit the Court to determine whether there is personal jurisdiction under the first prong of §
302(a)(1) and whether exercising personal jurisdiction would comport with due process.”).

        Defendants assert that Plaintiffs’ claims do not arise from New York activities because
Defendants’ New York customers purportedly did not fund the Attacks and Defendants did not
operate from New York. Def. Br. at 20-21; Reply Br. at 9-10. Defendants’ position fails, as CPLR
302(a) does not require a strict nexus between the New York activities and the claims; CPLR
302(a) merely requires “some articulable nexus between the business transacted and the cause
of action sued upon.” Sole Resort, S.A. de C.V. v. Allure Resorts Mgmt., LLC, 450 F.3d 100, 103
(2d Cir. 2006). In other words, “a relatedness between the transaction and the legal claim such
that the latter is not completely unmoored from the former[.]” Licci v. Lebanese Canadian Bank,
20 N.Y.3d 327, 339 (2012). The FAC’s allegations do far more. See In re Tether & Bitfinex Crypto
Asset Litig., 576 F. Supp. 3d 55, 88 (S.D.N.Y. 2021) (prima facie jurisdictional showing based on
“substantial relationship” between defendant’s opening New York bank accounts containing U.S.
dollar reserves and crypto manipulation claim because existence of reserves “was a critical
component of the illicit scheme,” and scheme could not have operated with unbacked USDT).

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        Moreover, Defendants’ assertions as to which of Binance’s clients funded the attack and
from where it operated when it provided financial services to Hamas and PIJ (Def. Br. at 20-21;
Reply Br. at 9-10) give rise to issues of fact that themselves warrant jurisdictional discovery. See
Davey, 2021 WL 3501199, at *3 (defendant’s argument that its New York business was too small
to confer jurisdiction warranted jurisdiction discovery because, without such discovery, plaintiffs
would be unable to plausibly allege the true scope of defendant’s New York business).

        Plaintiffs have likewise made, at a minimum, a sufficient start towards establishing
jurisdiction pursuant to Rule 4(k)(2). ¶¶65, 142; Pl. Br. at 21-22. Defendants challenge
jurisdiction under 4(k)(2), maintaining that Plaintiffs cannot assert both jurisdiction in New York
and jurisdiction pursuant to 4(k)(2). Def. Br. at 22. However, because Plaintiffs are allowed to
plead 4(k)(2) as an alternative jurisdictional basis (Pl. Br. at 21-22; citing authorities), this Court’s
precedent holds that Defendants must designate where this suit can be brought or declare that
they are not subject to personal jurisdiction in any U.S. state. See RegenLab USA LLC v. Estar
Techs. Ltd., 335 F. Supp. 3d 526, 555 (S.D.N.Y. 2018) (ordering accordingly). Defendants have
failed to do so. And they should be required to, as discovery into Defendants’ contacts (or lack
thereof) with other forums can establish the applicability of 4(k)(2).2

    III.     The Scope Of Plaintiffs’ Motion For Jurisdictional Discovery

        Plaintiffs request a pre-motion conference to set forth the scope of their anticipated
discovery: (i) Defendants’ New York activities and specifically those activities from which
Plaintiffs’ claims arise; and (ii) Defendants’ contacts with all fifty U.S. states. Should Defendants
oppose Plaintiffs’ Motion, Defendants should be required to affirmatively designate where this
suit can be brought or declare that they are not subject to jurisdiction in any forum. If the Court
schedules oral argument on Defendants’ Motion to Dismiss, at that oral argument, Plaintiffs will
be prepared to engage in this requested pre-motion conference or further set forth their bases for
why the Court should grant Plaintiffs’ Motion.

Respectfully submitted,

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 On Reply, Defendants, for the first time and therefore improperly, contended that application of 4(k)(2) would
violate due process. Reply Br. at 10. The Court should disregard Defendants’ newly-raised argument. Pl. Br. at 21.

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